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 4

 5
                        IN THE UNITED STATES DISTRICT COURT
 6
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                        ) Case No.: Cr. S. 06-455
     United States of America,            )
 9                                        ) STIPULATION AND ORDER TO CONTINUE
                Plaintiff,                ) STATUS CONFERENCE
10                                        )
          vs.                             ) DATE:   January 22, 2008
11                                        ) TIME:   8:30 a.m.
                                          ) COURT: Hon. William B. Shubb
12   KHANTHY VONGSEDONE, et. al.,         )
                                          )
13              Defendants
14

15

16        Defendants, Sue Her, by and through his undersigned counsel,
17   Shari Rusk, Khanthy Vongsedone, by and through his undersigned counsel
18   Chris Haydn-Myer and Tony Ketmany, by and through his undersigned
19   counsel, J. Toney and the United States, by and through Assistant
20   United States Attorney Phil Talbert, hereby agree and stipulate that
21   the status conference previously scheduled for November 19, 2007 be
22   re-scheduled for January 22, 2008.     The parties have received
23   discovery and are in the process of investigating and negotiating with
24   the government.   Additional time is needed for continued defense
25   preparation.   Therefore the parties request that the matter be placed
26   on calendar for a status conference on January 22, 2008.
27        All parties agree that time should be excluded up to and through
28   January 22, 2008 under the Speedy Trial Act, pursuant to 18 U.S.C. §




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 1   3161(h)(8)(B)(iv) and local code T4, to allow the defense sufficient

 2   time to prepare and investigate this matter.

 3   ///

 4   ///

 5
     Dated: November 16, 2006             Respectfully submitted,
 6

 7

 8                                       _/s/ Shari Rusk________
                                         Shari Rusk
 9                                       Attorney for Defendant
                                         Sue Her
10

11                                       /s/ Chris Haydn-Myer
                                         Chris Haydn-Myer
12                                       Attorney for Defendant
                                         Khanthy Vongsedone
13

14                                       /s/ J. Toney____
                                         J. Toney
15                                       Attorney for Defendant
                                         Tony Ketmany
16
     Dated: November 16, 2006
17                                       /s/ Phil Talbert ____
                                         Phil Talbert
18
                                          Assistant United States Attorney
19

20                           ORDER

21
           It is so ordered.    The status conference in United States v.
22
     Vongsedone will be continued to January 22, 2008 at 8:30 a.m. and time
23
     will be excluded.
24

25
     DATED:    November 19, 2007
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